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                                                                 UNITED STATES DISTRICT COURT
                                                                     DISTRICT OF MASSACHUSETTS
                                                                            OFFICE OF THE CLERK
                                                                             1 COURTHOUSE WAY
                                                                  BOSTON, MASSACHUSETTS 02210

ROBERT M. FARRELL
CLERK OF COURT
                                                                      April 30, 2025



Scott S. Harris, Clerk
United States Supreme Court
Office of the Clerk
Washington DC 20543

       Re: State of New Jersey et al v. Trump et al
           USDC - Massachusetts No. 25cv10139-LTS
           USCA – First Circuit No. 25-1170
           United States Supreme Court No. 24A886
.
Dear Clerk Harris:

       I am writing regarding the above District Court case. On April 30, 2025, this Court
received a letter pursuant to Rule 12.7 to certify and transmit immediately the entire District
Court record (including transcripts) to your office. All filings are available electronically through
PACER, as there are no sealed or confidential filings.

       If you should have any questions, please do not hesitate to contact me.


                                                              Sincerely,

                                                              Matthew A. Paine

                                                              Matthew A. Paine
                                                              Appeals Coordinator
                                                              United States District Court
                                                              District of Massachusetts
                                                              (617)-748-9157
                                                              Matthew_Paine@mad.uscourts.gov
